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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
JOHN DOE,                                 )
                                          )
                                          )
                   Petitioner,            )
                                          )
            v.                            )                  C.A. No. 1:19-CV-12508-DJC
                                          )
                                          )
ANTONE MONIZ, Superintendent,             )
Plymouth County Correctional Facility     )
                                          )
                                          )
                   Respondent             )
                                          )
__________________________________________)

             PETITIONER               ’S UNOPPOSED MOTION
          (1) TO REOPEN THE CASE FOR THE LIMITED PURPOSE OF
    FILING AN UNOPPOSED MOTION TO IMPOUND THE CASE RECORD; AND
              (2) FOR AN ORDER GRANTING PETITIONER LEAVE
        TO FILE THE UNOPPOSED MOTION TO IMPOUND UNDER SEAL

       Petitioner               , through his undersigned counsel and with the consent of

Respondent Antone Moniz, hereby moves this Honorable Court to reopen the above-captioned

case for the limited purpose of allowing Petitioner to file an unopposed motion to impound the

case record. Petitioner further moves the Court for an Order granting him leave to file the

unopposed motion to impound, pursuant to Local Rule 7.2(c), and to do so under seal. The basis

for this Motion is set forth in the attached memorandum of support.
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